
994 So.2d 42 (2008)
STATE ex rel. William BIRTHA
v.
STATE of Louisiana.
No. 2008-KH-1844.
Supreme Court of Louisiana.
October 10, 2008.
In re Birtha, William;Plaintiff; Applying for Supervisory and/or Remedial Writs, Parish of Jefferson, 24th Judicial District Court. Div. I, No. 97-6381; to the Court of Appeal, Fifth Circuit, No. 05-KH-443.
This application is transferred to the Fifth Circuit Court of Appeal for consideration pursuant to the procedures outlined in that court's en banc resolution of September 9, 2008. See State v. Cordero, 08-1717 (La.10-03-08), 993 So.2d 203.
WEIMER, J., concurs in part and dissents in part for the reasons assigned in State v. Cordero, 08-1717 (La.10-03-08), 993 So.2d 203.
